
In re Beusa Energy L.L.C. f/k/a Beusa Energy Inc.; Chesapeake Operating Inc.; Comstock Oil and Gas Louisiana L.L.C.; QEP Energy Company; — Defendant(s); Applying For Writ of Certiorari and/or Review, Parish of E. Baton rouge, 19th Judicial District Court Div. E., No. 589, 350; to the Court of Appeal, First Circuit, No. 2013 CA 0289.
Prior report: La.App., 2014 WL 3517548.
|! Writs granted. The court of appeal is reversed. The district court’s ruling, which granted the defendants’ exceptions of lack of subject matter jurisdiction, no cause of action, no right of action and prescription/peremption are reinstated. The plaintiffs’ claims are dismissed without prejudice, as originally ordered by the district court.
*197VICTORY, J., recused.
KNOLL, J., would deny.
HUGHES, J., would deny.
